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   1   JOHN N. AQUILINA
   2   Attorney-at-Law
       California Bar No. 096880
   3   P.O. Box 80189
   4   Rancho Santa Margarita, Ca. 92688
       Telephone: 951-682-1700
   5
       E-mail:     Aquilina@johnaquilina.com
   6
       Attorney for Defendant,
   7
       CASSANDRA NICOLE GONZALES
   8
   9
  10                  IN THE UNITED STATES DISTRICT COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA
  12
  13                              EASTERN DIVISION
  14
  15
       UNITED STATES OF AMERICA,       )
  16
                             Plaintiff,)      Case No. 5:19-cr-00151-DSF-2
  17                                   )
                    vs.                )      DEFENDANT’S POSITION
  18
                                       )      REGARDING SENTENCING
  19   CASSANDRA NICOLE GONZALES,      )
  20                        Defendant. )
                                        ) (Hrg: 10-28-19; 8:30 am; Dept. 7A)
  21
  22        TO: THE HONORABLE DALE S. FISCHER, JUDGE OF THE UNITED
                STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFOR-
  23            NIA; NICOLA T. HANNA, UNITED STATES ATTORNEY, by
  24            ROBERT S. TRISOTTO, ASSISTANT UNITED STATES ATTOR-
                NEY; MICHELLE A. CAREY, CHIEF UNITED STATES PROBA-
  25
                TION OFFICER, by CRISTINA TORRES, DEPUTY UNITED
  26            STATES PROBATION OFFICER; AND TO THE CLERK OF THE
                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF
  27
                CALIFORNIA, EASTERN DIVISION:
  28

                                            1
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   1         Defendant, CASSANDRA GONZALES, by and through her counsel of
   2
       record, JOHN N. AQUILINA, hereby submits the following as and for defendant’s
   3
   4   position regarding the appropriate sentence to be imposed in consideration and
   5
       application of the sentencing factors set forth pursuant to 18 U.S.C. section
   6
       3553(a).
   7
   8         Dated: October 7, 2019, at Mission Viejo, California.
   9
                                                    Respectfully submitted,
  10
  11
                                                     /s/ John N. Aquilina
  12                                                JOHN N. AQUILINA
  13                                                Attorney for Defendant,
                                                    CASSANDRA GONZALES
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  25
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   9
       /////
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  11   /////

  12   /////
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   1                               TABLE OF AUTHORITIES
   2
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  13
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  14
  15   /////
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   1                                    MEMORANDUM
   2
                                                I.
   3
   4                       INTRODUCTION AND BACKGROUND
   5
             Defendant, CASSANDRA GONZALES, is a soon to be 31-year old, well
   6
       educated, mother of two young girls, who lived a law abiding life, until approxi-
   7
   8   mately two years ago, when she was unable to handle the stress of motherhood,
   9
       financial pressures, and marital problems. Prior to that time, Ms. Gonzales
  10
  11   graduated from high school with honors, was gainfully employed, and actively

  12   involved with her daughters. By 2016-2017, she was a full-time, stay at home
  13
       mother, who was assisting her husband and had a close relationship with her
  14
  15   family. As a result of having quit her job to care for her daughters, and her
  16
       husband’s loss of his regular employment; however, Ms. Gonzales and her
  17
       immediate family incurred significant financial problems.
  18
  19         In 2017, she, her husband, and their two children were forced to move in
  20
       with her parents. Although fully supportive of Ms. Gonzales and her daughters,
  21
  22   daily life became so stressful, that her parents forced her husband to move out.

  23   Ms. Gonzales was devastated by this development, and turned to an old group of
  24
       friends, who “partied” and introduced her to using methamphetamine. Since Ms.
  25
  26   Gonzales’ mother was at home to care for her daughters, Ms. Gonzales took
  27
       “advantage” of her situation, and joined in the party atmosphere with her friends.
  28

                                                 6
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   1         This situation led to Ms. Gonzales engaging in minor criminal activities,
   2
       including drug use and minor thefts. By 2019, some of her friends introduced her
   3
   4   to another means of making money - transporting illegal aliens into the Inland
   5
       Empire. Both Ms. Gonzales and her husband found this unlawful activity “harm-
   6
       less,” yet financially beneficial, until they were arrested in April 2019.
   7
   8         Although initially granted her release on bond, by June 2019, the stress of
   9
       her situation, caused her to revert to using methamphetamine until she was
  10
  11   rearrested, re-incarcerated, and ordered permanently detained. Since her re-

  12   incarceration, and seeing the harm she caused her daughters, Ms. Gonzales finally
  13
       realized her unlawful activities were not harmless, but caused her and her family
  14
  15   grave hardship. Since her re-incarceration, Ms. Gonzales has been a model
  16
       inmate, completed the Cross-roads jail program, and fully understands her need to
  17
       disassociate herself from her “friends,” attend to the needs of her daughters, and
  18
  19   return to a law-abiding life as she had for the first twenty-eight years of her life.
  20
             Based on the information set forth in the pre-trial probation report, and this
  21
  22   sentencing position statement, Ms. Gonzales agrees, and is prepared to comply

  23   with, all of the terms and conditions recommended by the probation officer. Ms.
  24
       Gonzales sole request is that this court impose a sentence which allows her
  25
  26   immediate release from custody, which is approximately thirty-days less than the
  27
       term recommended by the probation department.
  28

                                                  7
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   1                                              II.
   2
                   FACTUAL OBJECTIONS AND CLARIFICATIONS TO
   3           THE PRE-SENTENCE LETTER AND INVESTIGATION REPORT
   4
               Other than the following, and the arguments set forth in section III of this
   5
   6   brief, the defense has no objections or corrections relating to the Probation Depart-
   7
       ment’s pre-sentence report (PSR) prepared in this matter.
   8
   9           Although the probation officer accurately relates Ms. Gonzales’ feeling that

  10   she did not need on-going drug counseling and treatment (Probation Letter p. 4;
  11
       PSR ¶ 70), she based this on her situation in jail and the absence of her having any
  12
  13   urges to use drugs. Having undergone and completed the Cross-roads Program,
  14
       addressing her personal and drug issues, she not only realizes her need for
  15
       continuing assistance to be sure she does not relapse, but is willing to engage in
  16
  17   whatever counseling and treatment program necessary to maintain her sobriety,
  18
       continue her life as a supportive mother, and avoid further criminal behavior and
  19
  20   re-incarceration. Based on her arrest and five-month period of incarceration, and

  21   her inability to be there for her children, Ms. Gonzales is prepared to do whatever
  22
       is recommended or required of her.
  23
  24   /////
  25
       /////
  26
       /////
  27
  28

                                                  8
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   1                                            III.
   2
                              SENTENCING GUIDELINE RANGE
   3
   4         In the pre-sentence letter and report, the probation officer correctly sets
   5
       forth the applicable sentencing factors and calculations. In this regard, probation
   6
       calculated the adjusted offense level at a level-12, reduced 2-levels for her early
   7
   8   acceptance of responsibility, for a total offense level-10. (PSR p. 3, ¶¶ 33, 41.)
   9
             Based on her criminal history category I, and a range of six to twelve
  10
  11   months incarceration, the probation officer recommends a 6-month period of

  12   incarceration, followed by a period of 3-years of supervised release on specified
  13
       terms and conditions. (Letter p. 1, PSR p. 3.) The probation officer does not find
  14
  15   any basis for a further departure or variance. (PSR ¶¶ 103-104.)
  16
             Based on a detailed review of Ms. Gonzales’ background, character, and
  17
       capabilities, her aberrant criminal behavior, and the applicable section 3553
  18
  19   factors, a downward departure of 1-month, allowing Ms. Gonzales’ immediate
  20
       release from custody, is warranted, and the resulting sentence more than sufficient,
  21
  22   but not greater than necessary, to serve as adequate punishment and deterrence for

  23   her actions and in order to accomplish the court’s goals.
  24
             Consistent with the probation officer’s findings and recommendation, the
  25
  26   defense further requests the court find Ms. Gonzales is unable to pay any non-
  27
       mandatory fines and costs.
  28

                                                 9
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   1                                            IV.
   2
                              APPLICABLE LEGAL PRINCIPLES
   3
   4         Pursuant to 18 U.S.C. section 3553(a), this sentencing court must weigh and
   5
       balance the goals of sentencing, considering the appropriate punishment, deter-
   6
       rence, protection of society, and rehabilitation of the defendant. In exercising its
   7
   8   discretion, the court must impose a sentence individually particularized to this
   9
       defendant, and render a judgment which is minimally sufficient, but not greater
  10
  11   than necessary, to achieve the goals of sentencing, and while exhibiting leniency.

  12   (Kimbrough v. United States (2007) 552 U.S. 85 [128 S.Ct. 558, 570, 575, 169
  13
       L.Ed.2d 481].)
  14
  15                                            A.
  16
                        NATURE AND CIRCUMSTANCES OF OFFENSE
  17
             In the present matter, although the offense is serious in nature, based on the
  18
  19   facts and circumstances leading up to, and resulting in, Ms. Gonzales’ involve-
  20
       ment in the criminal offense for which she stands convicted as forth herein, the
  21
  22   punishment need not include an additional period of incarceration.

  23         As noted herein, until 2018-2019, Ms. Gonzales’ led a law-abiding life as a
  24
       supportive wife and mother of two young daughters. As a result of the family’s
  25
  26   dire financial issues, her “forced” separation from her husband, and the stress of
  27
       she and her daughters living with her parents, and separate from her husband, Ms.
  28

                                                 10
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   1   Gonzales re-connected with some friends from high school, began partying and
   2
       using methamphetamine, and engaged in minor criminal activities. (PSR ¶¶ 60,
   3
   4   69) When introduced to a means of making “easy money,” and without consider-
   5
       ing the severity of the crimes or potential consequences of her actions, she and her
   6
       husband engaged with others to transport illegal aliens to the Inland Empire.
   7
   8         Ironically, and unlike her co-defendants who profited from their involve-
   9
       ment in the current offense (PSR ¶ 23), and although Ms. Gonzales engaged in the
  10
  11   criminality for the financial gain to be realized, she never received the $1000

  12   promised to her.
  13
             While not diminishing the significance of her unlawful actions, considering
  14
  15   the convergence of the series of unique events leading up to her criminal behavior,
  16
       her role in the offense, and her financial motivation, strict adherence to the
  17
       applicable sentencing guidelines is unwarranted and unnecessary.
  18
  19
  20                                             B.

  21            HISTORY AND CHARACTERISTICS OF THE DEFENDANT
  22
             Appearing before the court is a soon to be 31-year old wife and mother of
  23
  24   two young girls, who have suffered terribly from Ms. Gonzales’ behavior. Prior to
  25
       her marriage in November 2014 (PSR ¶ 58), Ms. Gonzalez graduated from high
  26
       school with a 3.8 GPA, and attended Chaffey College for two years (2006-2008.)
  27
  28   (PSR ¶ 72.)
                                                 11
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   1           After a series of other jobs, from 2011 to 2015, she worked at the Arrow-
   2
       head Credit Union as a teller supervisor and loan officer, until she quit in 2015 to
   3
   4   stay at home with her then six-year old daughter, Bryanna, and her newborn
   5
       daughter, Natalia. (Letter p. 4; PSR ¶¶ 59-60, 75-78.) Not only did Ms. Gonzales
   6
       stay at home to take care of her newborn, but she was very active and involved
   7
   8   with her daughters and their school activities. (PSR ¶¶ 59, 61.)
   9
               Although Ms. Gonzales’ husband, Nicholas Gonzales, has been employed
  10
  11   as an electrician, having suffered a series of epileptic seizures since 2010, he has

  12   repeatedly had his license suspended by the California Department of Motor
  13
       Vehicles. (PSR ¶ 60.) As a result, between 2014 and 2016, when he secured
  14
  15   employment out of the area, Ms. Gonzales had to drive him to and from work,
  16
       which often involved a twice daily four-hour round trip. These endeavors were
  17
       very difficult on Ms. Gonzales and on her daughters.
  18
  19           As a result of his licensing problems, Nicholas often found himself out of
  20
       work, and in 2016, in anticipation of filing a bankruptcy petition, he and Ms.
  21
  22   Gonzales entered into a debt consolidation plan. Within the year, and in 2017,

  23   Nicholas lost another job (due to his lack of transportation), they lost their resi-
  24
       dence, and were forced to move in with Ms. Gonzales’ parents. (PSR ¶ 60.)
  25
  26   /////
  27
       /////
  28

                                                 12
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   1         While living with her parents, Ms. Gonzales’ debts continued to amass.
   2
       Finally, in 2018, while Nicholas was unemployed and did not appear to be
   3
   4   motivated to finding a job, her parents issued an ultimatum - they would allow Ms.
   5
       Gonzales and her daughters to remain in their home, but Nicholas had to leave.
   6
       (PSR ¶ 60.) As a result, Nicholas moved in with his mother, which was nearby,
   7
   8   while Ms. Gonzales and their daughters remained with her family. Ms. Gonzales
   9
       and Nicholas attempted to maintain their relationship, and she frequently stayed at
  10
  11   his mother’s residence as well as that of her parents.

  12         The period of their separation was very stressful for Ms. Gonzales. (Letter p.
  13
       4; PSR ¶ 60.) In an attempt to alleviate her problems, and to “take a break” from
  14
  15   being the primary care-taker of their daughters, Ms. Gonzales began going out and
  16
       partying with old friends she knew from school. Ms. Gonzales’ parents allowed
  17
       her to go out and socialize because her mother was retired, soft-hearted, and
  18
  19   enjoyed caring for the girls; and, her father was not one to intervene or speak out.
  20
       (PSR ¶ 59.)
  21
  22         Once she began going out, Ms. Gonzales enjoyed her new-found “freedom.”

  23   With her “new” friends, Ms. Gonzales began smoking and snorting methamphet-
  24
       amine, mostly on weekends. (PSR ¶ 69.) During this period, Ms. Gonzales also
  25
  26   engaged with her friends and was cited for shoplifting in Riverside and possession
  27
       of paraphernalia in San Bernardino. (PSR ¶¶ 50-51.) It was as a result of these
  28

                                                13
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   1   relationships that Ms. Gonzales connected with those who could pay her for
   2
       transporting illegal aliens to the Inland Empire.
   3
   4         In regard to the two state misdemeanor warrants referenced by the probation
   5
       officer, it is noted that in regard to Riverside County Superior Court, case number
   6
       RIM1901810, Ms. Gonzales is charged with a misdemeanor, shoplifting in
   7
   8   violation of California Penal Code section 488, occurring on September 19, 2018.
   9
       On November 11, 2018, she was sent a notice to appear on March 27, 2019;
  10
  11   however, due to having not received the notice, she failed to appear on that date

  12   and a warrant was issued for her arrest.1 (Exh. A, Riverside Court docket, p. 19.)
  13
             In San Bernardino County Superior Court, case number MWV19011421,
  14
  15   Ms. Gonzales is charged with a misdemeanor, possession of drug paraphernalia (a
  16
       pipe) in violation of California Health and Safety Code section 11364, occurring
  17
       on April 9, 2019. On May 30, 2019, a complaint was filed against Ms. Gonzales;
  18
  19   however due to her incarceration in the current matter, she did not appear on the
  20
       July 25, 2019, scheduled arraignment date and a warrant was issued for her arrest.
  21
  22   (Exh. B, San Bernardino Court docket, p. 23.)

  23         Barring the noted relationships and her drug usage, the likelihood of Ms.
  24
       Gonzales engaging in further criminal activity is virtually non-existent. Corrobor-
  25
  26
  27         1
            The filing of the misdemeanor complaint on February 19, 2019, was well after
  28 the date she was noticed to appear pursuant to the citation issued.

                                                14
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   1   ation of this contention is demonstrated in Ms. Gonzales’ ability to secure employ-
   2
       ment while housed in the San Bernardino County Central Detention Center (PSR ¶
   3
   4   74) 2 and her successful completion of the Cross-roads program during her
   5
       incarceration.
   6
                                                C.
   7
   8                         NECESSITY OF JUST PUNISHMENT
   9
             As noted above, based on her education, work history, and the circum-
  10
  11   stances leading to the current offense which are unlikely to recur, the chance of

  12   Ms. Gonzales reoffending is virtually non-existent. During her five-months of
  13
       incarceration, she has been gainfully employed in the jail and completed a very
  14
  15   beneficial Cross-roads Program. Most significantly, her separation from her
  16
       daughters has had a tremendous impact on her. Having to speak with them on the
  17
       phone or through the jail visiting glass is incentive enough for her to avoid any
  18
  19   further violation. With the assistance of her supervised release officer during the
  20
       next three years, and the strong support of her family (PSR ¶ 56), her realization of
  21
  22   her past errors and that which caused her to engage in her criminal conduct, Ms.

  23   Gonzales is a viable candidate to successfully complete what is required of her.
  24
  25         2
             Although working in the jail at the time of her probation interview, Ms
  26 Gonzales lost her assignment when threatened by other inmates who recognized her
     as a former employee at the Arrowhead Credit Union. As a result of these threats,
  27
     Ms. Gonzales was moved to a different area of the jail and her trustee status was
  28 taken from her for “her own protection.”

                                                15
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   1         Pursuant to the Sentencing Guidelines, and whereas the probation officer
   2
       recommend an additional month in custody, the necessity of just punishment is
   3
   4   well served by a reduction of that one month in custody, resulting in a commit-
   5
       ment of five months.
   6
   7
                                                D.
   8
   9                     AFFORD ADEQUATE DETERRENCE AND
                             PROTECTION OF THE PUBLIC
  10
  11         Based on the same facts and argument set forth above, an additional month

  12   of incarceration for Ms. Gonzales will not enhance the need for adequate deter-
  13
       rence or protection of the public. At this time, what will be most beneficial to the
  14
  15   community is the release of Ms. Gonzales on supervised release, her reunification
  16
       with her daughters, re-obtaining gainful employment, and continuing with on-
  17
       going drug counseling and rehabilitation.
  18
  19
  20                                            E.

  21                          AVOID DISPARITY OF SENTENCE
  22
             At the time of the filing of this sentencing brief, Ms. Gonzales’ co-defen-
  23
  24   dants have not yet been sentenced by the court, therefore, they cannot be refer-
  25
       enced for the purpose of assessing a disparity of sentencing. What can he said is
  26
       that her role and involvement in the offense charged did not come close to that of
  27
  28   the others.
                                                16
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   1         As a matter of reference, it is noted that Ms. Gonzales’ husband was
   2
       arrested in Arizona for a similar offense and shortly before Ms. Gonzales’ arrest.
   3
   4   As a result of his prosecution in state court in Arizona, he pled guilty to a misde-
   5
       meanor offense, and was released from custody after a brief time (days) in custody
   6
       on court probation. (PSR ¶ 58.)
   7
   8
   9                                            V.

  10                              FINES AND RESTITUTION
  11
             Based on the facts and circumstances presented, and in light of the defen-
  12
  13   dant’s indigency and her current financial obligations and situation, the court
  14
       should adopt the probation officer’s recommendation and waive any and all non-
  15
       mandatory fines and fees. (PSR ¶ 87.)
  16
  17
                                         CONCLUSION
  18
  19         One of the most significant factors in the court’s sentencing determination is
  20
       the fact that, prior to her arrest, Ms. Gonzales took her daughters well-being and
  21
  22   her parents’ assistance for granted. Since her incarceration, and from her tele-

  23   phone calls and (two) jail visits with her daughters and her mother, Ms. Gonzales
  24
       now realizes how she has hurt them. Her daughters’ tears constitute significant
  25
  26   punishment for her selfishness. Her daughters’ suffering from Ms. Gonzales’
  27
       absence (PSR ¶ 59) is a major factor the court should consider in determining how
  28

                                                 17
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   1   much longer she should remain incarcerated. (see, United States v. Galante (2nd
   2
       Cir. 1997) 111 F.3d 1029, 1034 [affirming a downward departure from 46-57
   3
   4   months to 8 days where the defendant was a conscientious and caring father of two
   5
       sons who would have faced severe financial hardships by an extended period of
   6
       incarceration].)
   7
   8         Based upon the facts and circumstances presented herein, it is respectfully
   9
       requested that this court sentence the defendant in accordance with the recommen-
  10
  11   dation of the probation officer, with the exception of ordering Ms. Gonzales’

  12   immediate release from custody, which is more than sufficient, but not greater than
  13
       necessary, to serve as adequate punishment and deterrence for her actions and in
  14
  15   order to accomplish the goals of this court.
  16
             Dated: October 7, 2019, at Mission Viejo, California.
  17
                                                          Respectfully submitted,
  18
  19
  20                                                       /s/ John N. Aquilina
                                                          JOHN N. AQUILINA
  21                                                      Attorney for defendant,
  22                                                      CASSANDRA GONZALES

  23
  24
  25
  26
  27
  28

                                                18
